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EXHIBIT E

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PRESCRIPTION PHARMACEUTICALS AND BIOTECHNOLOGY

THE NEWS THIS WEEK Vol. 62, No. 14 April 3, 2000

Neurontin Off-Label Promotions, K-Dur Patent Settlement Under Scrutiny
e SCHERING/ES! LEOERLE K-2UA PATENT LITIGATION SETTLEMENT UNDER INVESTIGATION BY FIC: American Home

Products and Schering-Plough have responded to subpoenas from the agency. Upsher Smith has approved ANDA for generic

extended-release potassium chloride equivalent to K-Dur 20, but has not come to market o.....c..cjcceceseseseseccsrsececsesees 6
e WARNER-LAMBERT NEURONTIN PROMOTIONS ARE SUBJECT OF GRAND JURY INVESTIGATION in Boston, firm discloses

in SEC filing. Investigation could help define limits of government authority to regulate off-label promotions after the WLF
ruling. Criminal charges for promotional violations have been rare in pharmaceutical industry, Rezulin withdrawal will cost
S100 mil, Warner-Lambert reports ccc cccccceccncseneensecsnecevessssesssseescesesessesseessssaesesssassausesneesen sasnstesesatesevsnssseessavercarerapesvanvarsenss 3

e  Elan’s Zonegran postmarketing skin, blood, and renal AEs should be reported as unlabeled events to be submitted within
15 days, FDA says. Zonisamide is approved for adjunctive therapy in the treatment of partial seizures in adults over 16
with epilepsy. Pregnancy registry, electrocardiogram study suggested by FDA Luc ccccscsssssseccecstsssssseessscsesetseenssereres 5

e Drug withdrawals could increase as FDA removes “obsolete” drugs from market, CDER Director Woodcock tells
FDA/National Patient Safety Foundation meeting March 28. FDA is conducting post-mortem reviews of all drug
withdrawals, with reports eventually to be made public. CDER and CBER are seeking funding for a pilot

surveillance program to facilitate medication error repOrting...ce ce csceeccenseeessteneetssveeeeecsnsseseessesnestesaneseseestesteecticneegess 27

«  CDER Quality Assurance unit to catalogue center’s initiatives and programs under the leadership of Associate Director
Goldberger, who assumes the position on detail until the end of 2000. Portions of good review practices initiative

are expected to be launched during the year... ccc cecrecteeeeeereeseeeneasrseneadssegsasiesesaesaaseseesrsarsessesessavagensees

e Clinical trial data bank will include almost half of IND protocols submitted to FDA, agency says in March 29 notice
announcing the draft guidance on the establishment of the data bank. An estimated 2,235 new drug protocols would
fall under the reporting requirements each year. FDA says information submitted to data bank would not require

prior Institutional Review Board clearance 0... ccccsessssseccrenterssssesesessessssceensecaseeeseessenseassssesssacesieseecsensteseneetticsestesnesiss 15

Limits of Drug Price Containment Systems Outlined To Senate Finance Committee

« Medicaid “best price” drug rebates have not been successful in containing pharmacy costs, Oklahoma state official
tells Senate Finance Committee. Oklahoma tiering system for NSAIDs and anti-ulcer drugs could save $3 mil. this
year. Sen. Kennedy says he is not in favor of price controls or best price mandates for Medicaré cesses 25

e Multiple PBMs per region are more consistent with goals of comprehensive Medicare reform than single PBM
approach in Clinton proposal, Allscripts exec VP tells Senate committee. If plans are properly structured, adverse
selection can be minimized with multiple providers. Sen. Smith introduces drug benefit with PBM management........... 24

« Rep. Thomas suggests public/private cost sharing for Medicare Rx stop-loss benefit instead of high-risk pool
approach to private insurance-based drug benefits for elderly. HIAA’s Kahn says the insurance industry does not
support the idea. Senate budget resolution includes up to $40 bil. over five years to fund Medicare drug benefit.

Some Senate Republicans may be considering international pricing equity DiIIS...... eee crete tere tereeneeneresensiens

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“The Pink Shaat” (ISSN 1068-5324) is published weekly (except the week of Christmas) by F-0-C Reports, Inc., 5550 Friendship Blvd., Suite One, Chevy Chase, MD 20815-

7278. The annual subscription rate is (1) $1,090 or (2) $600 for additional copies mailed in the same envelope with $1,090 subscription. Cole Palmer Werble, President.
Periodicals Postage paid at Bethesda, MD. POSTMASTER: Send address changes to “The Pink Sheet”, 5550 Friendship Bivd., Suite One, Chevy Chase, MD 20815-7278.

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Warner-Lambert Neurontin Promotions Under Investigation By U.S. Attorney

The U.S. Attorney's office in Boston is investigating
potential off-label promotions of Warner-Lambert's
anti-epileptic drug Neurontin (gabapentin).

“Certain employees of Warner-Lambert were served
with subpoenas in January 2000 by the U.S. Attorney's
office in Boston, Mass. directing them to provide
testimony before a federal grand jury in Boston,”
Warner-Lambert disclosed in a March 28 10-K filing
with the Securities & Exchange Commission.

“The U.S. Attomey’s office is conducting

The court decision and appellate ruling have clearly
reduced the scope of FDA’s authority to regulate
scientific exchange regarding off-label use, but have
not clearly defined a boundary between legitimate
information exchange and violative promotions (‘The
Pink Sheet” March 20, p. 18).

Grand jury investigations of potential promotional
violations have been relatively rare in the
pharmaceutical industry.

The Newark, N.J. U.S. Attormey’s office initiated

an inquiry into Warner-Lambert’s
promotion of Neurontin,” the 10-K
continues. ‘“Warner-Lambert is
cooperating with the inquiry and cannot
predict what the outcome of the
investigation will be.”

# investigations in 1991 into Ortho’s
promotions of Retin-A and Ciba-Geigy’s
promotions of Voltaret.

The Retin-A investigation, which focused
on allegations that Ortho promoted the
acne therapy off-label for photo-aging,

Neurontin sales have been growing rapidly, increasing
78% to $913 mil. in 1999. The company forecasts that
2000 sales will top $1 bil., despite the expiration of the
basic patent on gabapentin in July (following a six-
month pediatric extension granted in January).

Neurontin, approved for epilepsy in 1993, is widely
used off-label, with the company telling analysts in
1996 that 25% of use was for unlabeled indications.

Warner-Lambert has been very public about its
research program to look into the use of Neurontin in a
number of neurological disorders, including diabetic
neuropathy, post-herpetic neuropathy, migraine, panic
disorder, social phobia, bipolar disorder and
amyotrophic lateral sclerosis.

None of the non-epilepsy indications has been filed
with FDA. In 1998, Warner-Lambert told analysts that
it viewed the Neurontin research as facilitating more
rapid development of a successor product, pregabalin
(“The Pink Sheet” April 27, 1998, p. 21).

Neurontin has not been the subject of any public
communications from FDA’s advertising surveillance
division.

The grand jury investigation could be an early test case
of the enforcement environment following the
Washington Legal Foundation court case that found
FDA’s prohibitions on journal article and textbook
dissemination to be overly broad.

ultimately produced obstruction of justice
charges against J&J and one of its executives, but did
not lead to a case involving FD&C Act violations.

J&J pleaded guilty to the obstruction charges and paid
a $7.5 mil. fine. The executive was acquitted of the
obstruction counts.

The investigation may have had a more costly indirect
effect on J&J: the company’s application for a photo-
aging claim (under the trade name Renova) was not
approved until the end of 1995, six years after the
NDA was originally filed.

The investigation of Ciba did not lead to any charges.
Ciba has since merged with Sandoz to form Novartis.

A more recent investigation was spearheaded by the
San Francisco U.S, Attorney’s office into Genentech’s
promotions of human growth hormone products.
Genentech pleaded guilty to an FD&C Act violation
for promoting the drug for children of short stature
who are not growth hormone deficient and paid a $50
mil. fine in April.

The growth hormone investigation grew out of an anti-
kickback investigation initiated by the Minnesota U.S.
Attomey’s office, which resulted in a settlement with
the growth hormone distributor Caremark and charges
against several executives from Caremark and
Genentech. The executives were acquitted.

The Boston U.S. Attorney’s office has been involved in
several recent pharmaceutical-related investigations,

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but none have involved potential promotional
violations.

Recent Boston cases include Drug Enforcement
Agency charges against Cardinal for alleged violations
of the Prescription Drug Marketing Act, a criminal
investigation of the generic manufacturer Copley
related to manufacturing problems, prosecution of a
former Astra USA exec for financial improprieties and
prosecution of two biotech researchers for alleged trade
secret theft.

Warner-Lambert has a history of compliance problems
in the manufacturing sector, with the company’s Puerto
Rican operations the subject of a 1993 consent
agreement that ultimately cost the company over $1

bil. im clean-up expenses and led to criminal] charges
against a quality assurance exec. The QA exec was not
convicted in the case.

In 1997, the company pleaded guilty in a separate action
involving falsifying reports on pollutants released from a
Puerto Rican waste water treatment plant.

The Neurontin investigation carries an indirect risk for
Wamer-Lambert if it leads to a public record that
plaintiff's attorneys can use in pursuing product liability
litigation involving the oral antidiabetic Rezulin.

Wamer-Lambert withdrew Rezulin March 21 after
FDA concluded that more recent entrants in the class
offer a reduced risk of liver toxicity (“The Pink Sheet”
March 27, p. 4).

The 10-K estimates that the cost of the withdrawal of
the antidiabetic agent Rezulin will be $100 mil.

The 10-K characterizes the decision as a result of
“repeated media reports sensationalizing the risks
associated with Rezulin therapy [that] created an
environment in which patients and physicians were
unable to make well-informed decisions regarding the
safety and efficacy of Rezulin.”

“Under these circumstances, and after an unexpected
request from FDA in the early evening of March 21 ta
consider removing the drug from the market, the
company decided to discontinue marketing Rezulin,”
the 10-K says.

Potential lability surrounding Rezulin does not appear
to be a significant concern to Pfizer, which is in the
process of acquiring Warner-Lambert. The companies
have taken the position that the withdrawal of Rezulin
does not materially alter the terms of their merger
agreement. ¢

lvax Generic Zo/oft Exclusivity Will Be Unaffected By New FDA Guidance

Ivax expects to retain the full benefit of the 180-day
generic exclusivity period for sertraline in 2006 if it
prevails in a challenge of two of Pfizer’s patents on
Zoloft.

The Ivax ANDA for 50 mg and 100 mg sertraline
tablets, submitted in the fourth quarter of 1999, would
be eligible for 180 days of exclusivity as the first
application to be filed for a generic version of the
selective serotonin reuptake inhibitor.

Although FDA has issued another revised
interpretation of the 180 day Waxman/Hatch
exclusivity rule, Ivax’ sertraline ANDA would be
grandfathered in under the old interpretation.

“Since Ivax filed for its generic version of Zoloft in the
fourth quarter of 1999, the proposed new rule, which
some believe may lessen the value of the six-month
exclusivity period, will have no impact on this
application,” Ivax said March 29.

The new guidance states that the exclusivity clock for
generic applicants will begin running after the ruling of

any court invalidating a patent, rather than being
triggered by an appellate court ruling.

Some generic manufacturers have expressed concern
that the new interpretation would prevent them from
benefiting from exclusivity because of the increased
risk associated with going to market while patent cases
are on appeal.

Ivax is challenging two Pfizer Zoloft patents: method
patent No. 4,962,128, which expires in November
2009, and patent No. 5,248,699 on a crystalline
polymorph of sertraline, set to expire in August 2012.

Ivax’ ANDA does not challenge Zoloft’s earliest-
expiring patent, No. 4,536,518, a compound patent on
sertraline that expires Dec. 30, 2005.

Pfizer sued Ivax for patent infringement of the '128 and
699 Zoloft patents Jan. 28 in Newark, N.J. federal court.
The drug generated $2 bil. in sales for Pfizer in 1999.

The first SSRI antidepressant, Lilly's Proz4¢ is also in
patent litigation, and awaiting a decision from

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